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                                                                                          FILED
                                                                                  U.S.   OSTRCi COURT
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                                                                                 2010N0V29 PM 1 : 42
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA                           CLERK e^^'      (-Aiiiii
                          SAVANNAH DIVISION                                         SO. DST. OF GA


LENWARD SMITH

             Plaintiff,
                                                          CIVIL ACTIPN,
                                                          FILE NO. ''
                                                                            410-279
STONELEIGH RECOVERY
ASSOCIATES, LLC

             Defendant.


                                   NATURE OF ACTION

      1      This is an action brought under the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C.        §   1692   et seq., and the Telephone Consumer Protection Act

("TCPA"), 47 U.S.C.       § 227.
                             JURISDICTION AND VENUE

      2.     This Court has jurisdiction under 15 U.S.C.         § 1692k(d), 47 U.S.C. §
227(b)(3), 28 U.S.C.      § 1331, and 28 U.S.C. § 1367(a).
      3.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiffs action occurred in this

State and this district, where Plaintiff resides in this State and this district, and

where Defendant transacts business in this State and this district.
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                                    PARTIES

      4.    Plaintiff, Lenward Smith ("Plaintiff'), is a natural person who at all

relevant times resided in the State of Georgia, County of Chatham, and City of

Savannah.

      5.    Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

      6.    Defendant, Stoneleigh Recovery Associates, LLC ("Defendant") is an

entity who at all relevant times was engaged, by use of the mails and telephone, in

the business of attempting to collect a "debt" from Plaintiff, as defined by 15

U.S.C. §1692a(5).

      7.    Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

      8.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      9.    Plaintiffs obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes.

      10.   Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or
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regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      11.    Within one (1) year preceding the date of this Complaint, Defendant

made and/or placed a telephone call to Plaintiff's cellular telephone number, in

effort to collect from Plaintiff an obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendant.

       12.   Within one (1) year preceding the date of this Complaint, Defendant

willfully and knowingly utilized an automatic telephone dialing system to make

and/or place a telephone call to Plaintiff's cellular telephone number, in effort to

collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant.

       13.   Defendant, via its agent or employee "Dominic Winchester," left a

voice message on Plaintiff's cellular telephone on August 18, 2010 @ 5:59 P.M. in

which Defendant failed to meaningfully disclose its true identity and failed to

disclose that the communication was from a debt collector. The message stated,

"This call is for Lenward Smith. This is Dominic Winchester. Please contact my

office at 630-812-2812. Once again my name is Dominic Winchester. The number

is 630-812-2812. Please return my call as soon as you get the message. Thank

you." (15 U.S.C. § 1692d(6), 1692e(1 1)).
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         14.   Defendant placed multiple non-emergency calls to Plaintiff's cellular

telephone, without the prior express consent of Plaintiff, using an automatic

telephone dialing system. (47 U.S.C. 227(b)(1)(A)(iii)).

         15.   Defendant's actions constitute conduct highly offensive to a

reasonable person.

                                      COUNT I

         16.   Plaintiff repeats and re-alleges each and every allegation contained

above.

         17.   Defendant violated the FDCPA as detailed above.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the FDCPA;

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k,

               in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f Awarding such other and further relief as the Court may deem just and
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               proper.

                                      COUNT II

         18.   Plaintiff repeats and re-alleges each and every allegation contained

above.

         19.   Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly utilizing an automatic telephone dialing system to make and/or place a

telephone call to Plaintiff's cellular telephone number.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

            b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(B), in the amount of $500.00 per violation;

            c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(C), in the amount of $1,500.00 per violation;

            d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            e) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            f) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law.
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                               TRIAL BY JURY

     20. Plaintiff is entitled to and hereby demands a trial by jury.


This . 3 day of November, 2010.


                                            ATTORNEYS FOR PLAINTFF
                                            LEN WARD SMITH

                                            Respectfully submitted,


                                            Dennis R. Kurz
                                            Georgia Bar No. 430489
                                            WEISBERG & MEYERS, LLC
                                            5025 N. Central Ave. 602
                                            Phoenix, AZ 85012
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

LENWARD SMITH

             Plaintiff,
                                                 CIVIL ACTION
0                                                FILE NO.

STONELEIGH RECOVERY
ASSOCIATES, LLC

             Defendant.


        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE Si

       The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Southern District of Georgia, using a font type of Time New Roman and

a point size of 14.

                                           Respectfully submitted,



                                           Dennis R. Kurz
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